              Case 18-14752-JKS                             Doc 13            Filed 03/28/18 Entered 03/28/18 16:20:36                                    Desc Main
                                                                             Document      Page 1 of 41
B2030 (Form 2030) (12/15)
                                                         UNITED STATES BANKRUPTCY COURT
                                                              DISTRICT OF NEW JERSEY
                                                                 NEWARK DIVISION
In re Dorothy Futrell                                                                                                             Case No.    18-14752-JKS

                                                                                                                                  Chapter     7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and
   that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
   services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
   is as follows:

     For legal services, I have agreed to accept..................................................................                          $1,850.00
     Prior to the filing of this statement I have received.......................................................                           $1,850.00
     Balance Due...................................................................................................................               $0.00

2. The source of the compensation paid to me was:
                      Debtor                                  Other (specify)

3. The source of compensation to be paid to me is:
                      Debtor                                  Other (specify)

4.        I have not agreed to share the above-disclosed compensation with any other person unless they are members and
           associates of my law firm.

          I have agreed to share the above-disclosed compensation with another person or persons who are not members or
           associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
           compensation, is attached.


5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
     bankruptcy;

     b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
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B2030 (Form 2030) (12/15)

6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                           CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
   representation of the debtor(s) in this bankruptcy proceeding.


                     03/28/2018                       /s/ Harrison R. Byck
                        Date                          Harrison R. Byck                             Bar No. 026831988




    /s/ Dorothy Futrell
   Dorothy Futrell
            Case 18-14752-JKS                          Doc 13            Filed 03/28/18 Entered 03/28/18 16:20:36                                                 Desc Main
                                                                        Document      Page 3 of 41
 Fill in this information to identify your case:
 Debtor 1               Dorothy                                                  Futrell
                        First Name                   Middle Name                 Last Name

 Debtor 2
 (Spouse, if filing) First Name                      Middle Name                 Last Name


 United States Bankruptcy Court for the: DISTRICT OF NEW JERSEY

 Case number            18-14752-JKS
 (if known)                                                                                                                                      Check if this is an
                                                                                                                                                  amended filing

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                      12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended
schedules after you file your original forms, you must fill out a new Summary and check the box at the top of this page.



 Part 1:          Summarize Your Assets

                                                                                                                                                             Your assets
                                                                                                                                                             Value of what you own
1.   Schedule A/B: Property (Official Form 106A/B)

     1a. Copy line 55, Total real estate, from Schedule A/B...................................................................................................           $90,000.00


     1b. Copy line 62, Total personal property, from Schedule A/B........................................................................................                 $7,535.00


     1c. Copy line 63, Total of all property on Schedule A/B..................................................................................................           $97,535.00


 Part 2:          Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
     2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.....                                             $62,710.92

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
     3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.....................................                                       $0.00


     3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................. +                                    $10,455.43



                                                                                                                             Your total liabilities                      $73,166.35




 Part 3:          Summarize Your Income and Expenses

4.   Schedule I: Your Income (Official Form 106I)
     Copy your combined monthly income from line 12 of Schedule I......................................................................................                   $2,158.00

5.   Schedule J: Your Expenses (Official Form 106J)
     Copy your monthly expenses from line 22c of Schedule J................................................................................................               $1,677.37




Official Form 106Sum                      Summary of Your Assets and Liabilities and Certain Statistical Information                                                            page 1
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Debtor 1      Dorothy Futrell                                                              Case number (if known)     18-14752-JKS


 Part 4:        Answer These Questions for Administrative and Statistical Records

6.   Are you filing for bankruptcy under Chapters 7, 11, or 13?

          No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
          Yes


7.   What kind of debt do you have?

          Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
           family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

          Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.

8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from
     Official Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                     $1,080.00


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                        Total claim

     From Part 4 on Schedule E/F, copy the following:

     9a. Domestic support obligations. (Copy line 6a.)                                                                 $0.00

     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                         $0.00

     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                               $0.00

     9d. Student loans. (Copy line 6f.)                                                                                $0.00

     9e. Obligations arising out of a separation agreement or divorce that you did not report as                       $0.00
         priority claims. (Copy line 6g.)

     9f.   Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)       +                  $0.00

     9g. Total.    Add lines 9a through 9f.                                                                            $0.00




Official Form 106Sum               Summary of Your Assets and Liabilities and Certain Statistical Information                                page 2
             Case 18-14752-JKS                    Doc 13          Filed 03/28/18 Entered 03/28/18 16:20:36                                   Desc Main
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 Fill in this information to identify your case and this filing:
 Debtor 1               Dorothy                                          Futrell
                        First Name              Middle Name              Last Name

 Debtor 2
 (Spouse, if filing) First Name                 Middle Name              Last Name


 United States Bankruptcy Court for the: DISTRICT OF NEW JERSEY

 Case number            18-14752-JKS
 (if known)                                                                                                                     Check if this is an
                                                                                                                                 amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                      12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list
the asset in the category where you think it fits best. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, attach a separate
sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:          Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

           No. Go to Part 2.
           Yes. Where is the property?

1.1.                                                    What is the property?                              Do not deduct secured claims or exemptions. Put the
607-609 Spooner Ave, Plainfield,                        Check all that apply.                              amount of any secured claims on Schedule D:
                                                                                                           Creditors Who Have Claims Secured by Property.
NJ07060                                                    Single-family home
                                                           Duplex or multi-unit building                  Current value of the            Current value of the

Union                                                      Condominium or cooperative                     entire property?                portion you own?

County                                                     Manufactured or mobile home                                 $90,000.00                     $90,000.00
                                                           Land
                                                           Investment property                            Describe the nature of your ownership
                                                           Timeshare                                      interest (such as fee simple, tenancy by the
                                                                                                           entireties, or a life estate), if known.
                                                           Other

                                                        Who has an interest in the property?
                                                                                                           Homestead
                                                        Check one.

                                                           Debtor 1 only                                     Check if this is community property
                                                                                                               (see instructions)
                                                           Debtor 2 only
                                                           Debtor 1 and Debtor 2 only
                                                           At least one of the debtors and another

                                                        Other information you wish to add about this item, such as local
                                                        property identification number:  Lot 22 Blk 503

2.     Add the dollar value of the portion you own for all of your entries from Part 1, including any
       entries for pages you have attached for Part 1. Write that number here.........................................................                $90,000.00


 Part 2:          Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


3.     Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

          No
          Yes




Official Form 106A/B                                                  Schedule A/B: Property                                                                page 1
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Debtor 1         Dorothy Futrell                                                                   Case number (if known)        18-14752-JKS

4.   Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
     Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

          No
          Yes

5.   Add the dollar value of the portion you own for all of your entries from Part 2, including any
     entries for pages you have attached for Part 2. Write that number here.........................................................                   $0.00


 Part 3:          Describe Your Personal and Household Items
                                                                                                                                         Current value of the
Do you own or have any legal or equitable interest in any of the following items?
                                                                                                                                         portion you own?
                                                                                                                                         Do not deduct secured
                                                                                                                                         claims or exemptions.

6.   Household goods and furnishings
     Examples: Major appliances, furniture, linens, china, kitchenware

          No
          Yes. Describe..... Coffee table, end table, lamps, dining table and chairs, stove, microwave,                                             $985.00
                                refrigerator, bed, loveseat, couch, washer, dryer
7.   Electronics
     Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners;
                music collections; electronic devices including cell phones, cameras, media players, games

          No
          Yes. Describe..... TV, DVD player, CD player                                                                                                $75.00

8.   Collectibles of value
     Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                stamp, coin, or baseball card collections; other collections, memorabilia, collectibles

          No
          Yes. Describe.....

9.   Equipment for sports and hobbies
     Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis;
               canoes and kayaks; carpentry tools; musical instruments

          No
          Yes. Describe.....

10. Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment

          No
          Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

          No
          Yes. Describe..... Clothing, shoes and accessories                                                                                        $575.00

12. Jewelry
    Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
              gold, silver

          No
          Yes. Describe.....

13. Non-farm animals
    Examples: Dogs, cats, birds, horses

          No
          Yes. Describe.....




Official Form 106A/B                                                Schedule A/B: Property                                                               page 2
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Debtor 1         Dorothy Futrell                                                                                                  Case number (if known)                   18-14752-JKS

14. Any other personal and household items you did not already list, including any health aids you
    did not list

          No
          Yes. Give specific
           information.............

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have
    attached for Part 3. Write the number here........................................................................................................                                         $1,635.00


  Part 4:           Describe Your Financial Assets
                                                                                                                                                                                      Current value of the
Do you own or have any legal or equitable interest in any of the following?
                                                                                                                                                                                      portion you own?
                                                                                                                                                                                      Do not deduct secured
                                                                                                                                                                                      claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your
              petition

          No
          Yes.................................................................................................................................... Cash: ..........................               $125.00

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions,
              brokerage houses, and other similar institutions. If you have multiple accounts with the same
              institution, list each.

          No
          Yes............................                    Institution name:

            17.1.       Checking account:                     Bank of America Checking account ending in #5567                                                                                    $725.00
            17.2.       Savings account:                      Bank of America Savings account ending in #7036                                                                                       $50.00
18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts

          No
          Yes............................     Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including
    an interest in an LLC, partnership, and joint venture

          No
          Yes. Give specific
           information about
           them..........................      Name of entity:                                                                                         % of ownership:
20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

          No
          Yes. Give specific
           information about
           them..........................      Issuer name:
21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or
              profit-sharing plans

          No
          Yes. List each
           account separately.               Type of account:                   Institution name:




Official Form 106A/B                                                                     Schedule A/B: Property                                                                                       page 3
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Debtor 1         Dorothy Futrell                                                                    Case number (if known)      18-14752-JKS

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

          No
          Yes............................                     Institution name or individual:
23. Annuities (A contract for a specific periodic payment of money to you, either for life or for a number of years)
     No
     Yes............................ Issuer name and description:
24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

          No
          Yes............................   Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c)
25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or
    powers exercisable for your benefit

          No
          Yes. Give specific
           information about them

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property;
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

          No
          Yes. Give specific
           information about them

27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

          No
          Yes. Give specific
           information about them

Money or property owed to you?                                                                                                           Current value of the
                                                                                                                                         portion you own?
                                                                                                                                         Do not deduct secured
                                                                                                                                         claims or exemptions.

28. Tax refunds owed to you

          No
          Yes. Give specific information                                                                                     Federal:
           about them, including whether
           you already filed the returns                                                                                      State:
           and the tax years......................
                                                                                                                              Local:

29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

          No
          Yes. Give specific information                                                                         Alimony:

                                                                                                                  Maintenance:

                                                                                                                  Support:

                                                                                                                  Divorce settlement:

                                                                                                                  Property settlement:




Official Form 106A/B                                                    Schedule A/B: Property                                                           page 4
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Debtor 1         Dorothy Futrell                                                                                 Case number (if known)            18-14752-JKS

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers'
              compensation, Social Security benefits; unpaid loans you made to someone else

          No
          Yes. Give specific information

31. Interests in insurance policies
    Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance

          No
          Yes. Name the insurance
           company of each policy
           and list its value................    Company name:                                              Beneficiary:                               Surrender or refund value:

                                                 United Insurance Co of America                             Cynthia Richardson - Sister                              $5,000.00
32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently
    entitled to receive property because someone has died

          No
          Yes. Give specific information

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue

          No
          Yes. Describe each claim........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and
    rights to set off claims

          No
          Yes. Describe each claim........

35. Any financial assets you did not already list

          No
          Yes. Give specific information

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have
    attached for Part 4. Write that number here.......................................................................................................              $5,900.00


  Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

          No. Go to Part 6.
          Yes. Go to line 38.

                                                                                                                                                           Current value of the
                                                                                                                                                           portion you own?
                                                                                                                                                           Do not deduct secured
                                                                                                                                                           claims or exemptions.
38. Accounts receivable or commissions you already earned

          No
          Yes. Describe..

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones,
               desks, chairs, electronic devices

          No
          Yes. Describe..




Official Form 106A/B                                                         Schedule A/B: Property                                                                        page 5
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Debtor 1         Dorothy Futrell                                                                                 Case number (if known)            18-14752-JKS

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

          No
          Yes. Describe..

41. Inventory

          No
          Yes. Describe..

42. Interests in partnerships or joint ventures

          No
          Yes. Describe..... Name of entity:                                                                                     % of ownership:

43. Customer lists, mailing lists, or other compilations

          No
          Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                 No
                 Yes. Describe.....
44. Any business-related property you did not already list

          No
          Yes. Give specific information.

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have
    attached for Part 5. Write that number here.......................................................................................................                   $0.00


  Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
               If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

          No. Go to Part 7.
          Yes. Go to line 47.


                                                                                                                                                           Current value of the
                                                                                                                                                           portion you own?
                                                                                                                                                           Do not deduct secured
                                                                                                                                                           claims or exemptions.
47. Farm animals
    Examples: Livestock, poultry, farm-raised fish

          No
          Yes....

48. Crops--either growing or harvested

          No
          Yes. Give specific
           information................

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

          No
          Yes....

50. Farm and fishing supplies, chemicals, and feed

          No
          Yes....




Official Form 106A/B                                                         Schedule A/B: Property                                                                        page 6
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Debtor 1          Dorothy Futrell                                                                                           Case number (if known)                18-14752-JKS

51. Any farm- and commercial fishing-related property you did not already list

           No
           Yes. Give specific
            information................

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have
    attached for Part 6. Write that number here.......................................................................................................                                 $0.00


  Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

           No
           Yes. Give specific information.


54. Add the dollar value of all of your entries from Part 7. Write that number here.............................................                                                       $0.00


  Part 8: List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2..............................................................................................................................               $90,000.00

56. Part 2: Total vehicles, line 5                                                                                          $0.00

57. Part 3: Total personal and household items, line 15                                                              $1,635.00

58. Part 4: Total financial assets, line 36                                                                          $5,900.00

59. Part 5: Total business-related property, line 45                                                                        $0.00

60. Part 6: Total farm- and fishing-related property, line 52                                                               $0.00

61. Part 7: Total other property not listed, line 54                                              +                         $0.00

                                                                                                                                          Copy personal
62. Total personal property.                  Add lines 56 through 61..................                              $7,535.00            property total                  +        $7,535.00


63. Total of all property on Schedule A/B.                         Add line 55 + line 62................................................................................           $97,535.00




Official Form 106A/B                                                                Schedule A/B: Property                                                                              page 7
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 Fill in this information to identify your case:
 Debtor 1            Dorothy                                     Futrell
                     First Name           Middle Name            Last Name
 Debtor 2
 (Spouse, if filing) First Name           Middle Name            Last Name

 United States Bankruptcy Court for the: DISTRICT OF NEW JERSEY
                                                                                                                    Check if this is an
 Case number         18-14752-JKS                                                                                    amended filing
 (if known)

Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages,
write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so
is to state a specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being
exempted up to the amount of any applicable statutory limit. Some exemptions--such as those for health aids, rights to
receive certain benefits, and tax-exempt retirement funds--may be unlimited in dollar amount. However, if you claim an
exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1:       Identify the Property You Claim as Exempt

1.   Which set of exemptions are you claiming?             Check one only, even if your spouse is filing with you.

         You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
         You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on           Current value of     Amount of the                Specific laws that allow exemption
Schedule A/B that lists this property                   the portion you      exemption you claim
                                                        own
                                                        Copy the value from Check only one box for
                                                        Schedule A/B        each exemption


Brief description:                                         $90,000.00                $23,675.00          11 U.S.C. § 522(d)(1)
607-609 Spooner Ave, Plainfield, NJ07060                                         100% of fair market
Parcel: Lot 22 Blk 503                                                            value, up to any
(1st exemption claimed for this asset)                                            applicable statutory
Line from Schedule A/B: 1.1                                                       limit

Brief description:                                         $90,000.00                 $1,250.00          11 U.S.C. § 522(d)(5)
607-609 Spooner Ave, Plainfield, NJ07060                                         100% of fair market
Parcel: Lot 22 Blk 503                                                            value, up to any
(2nd exemption claimed for this asset)                                            applicable statutory
Line from Schedule A/B: 1.1                                                       limit




3.   Are you claiming a homestead exemption of more than $160,375?
     (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

         No
         Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
           No
           Yes
Official Form 106C                               Schedule C: The Property You Claim as Exempt                                               page 1
           Case 18-14752-JKS              Doc 13       Filed 03/28/18 Entered 03/28/18 16:20:36                        Desc Main
                                                      Document     Page 13 of 41
Debtor 1      Dorothy Futrell                                                        Case number (if known)   18-14752-JKS

 Part 2:       Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                       $985.00                 $985.00           11 U.S.C. § 522(d)(3)
Coffee table, end table, lamps, dining table                                100% of fair market
and chairs, stove, microwave, refrigerator,                                  value, up to any
bed, loveseat, couch, washer, dryer                                          applicable statutory
Line from Schedule A/B:   6                                                  limit

Brief description:                                       $75.00                   $75.00           11 U.S.C. § 522(d)(3)
TV, DVD player, CD player                                                   100% of fair market
                                                                             value, up to any
Line from Schedule A/B:     7
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $575.00                 $575.00           11 U.S.C. § 522(d)(3)
Clothing, shoes and accessories                                             100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    11
                                                                             applicable statutory
                                                                             limit

Brief description:                                      $5,000.00               $5,000.00          11 U.S.C. § 522(d)(8)
United Insurance Co of America                                              100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    31
                                                                             applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 2
             Case 18-14752-JKS                 Doc 13       Filed 03/28/18 Entered 03/28/18 16:20:36                              Desc Main
                                                           Document     Page 14 of 41
  Fill in this information to identify your case:
  Debtor 1             Dorothy                                      Futrell
                       First Name            Middle Name            Last Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name            Last Name


  United States Bankruptcy Court for the: DISTRICT OF NEW JERSEY

  Case number          18-14752-JKS
  (if known)                                                                                                          Check if this is an
                                                                                                                       amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                     12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form.
On the top of any additional pages, write your name and case number (if known).


1.      Do any creditors have claims secured by your property?

            No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
            Yes. Fill in all of the information below.


  Part 1:         List All Secured Claims

2.      List all secured claims. If a creditor has more than one secured
        claim, list the creditor separately for each claim. If more than one             Column A               Column B               Column C
        creditor has a particular claim, list the other creditors in Part 2. As          Amount of claim        Value of collateral    Unsecured
        much as possible, list the claims in alphabetical order according to the         Do not deduct the      that supports this     portion
        creditor's name.                                                                 value of collateral    claim                  If any

  2.1                                            Describe the property that
                                                 secures the claim:                            $62,710.92              $90,000.00
Bank of America                                  607-609 Spooner Ave,
Creditor's name
c/o Frankel Lambert Weiss, etal                  Plainfield, NJ07060
Number       Street
80 Main Street Suite 460
                                                 As of the date you file, the claim is: Check all that apply.
                                                  Contingent
West Orange
City
                         NJ
                         State
                                 07052
                                 ZIP Code
                                                  Unliquidated
                                                  Disputed
Who owes the debt? Check one.             Nature of lien. Check all that apply.
 Debtor 1 only                            An agreement you made (such as mortgage or secured car loan)
 Debtor 2 only                            Statutory lien (such as tax lien, mechanic's lien)
 Debtor 1 and Debtor 2 only               Judgment lien from a lawsuit
 At least one of the debtors and another  Other (including a right to offset)
      Check if this claim relates
       to a community debt
Date debt was incurred                           Last 4 digits of account number        1     7    8    8




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                              $62,710.92

If this is the last page of your form, add the dollar value totals from
all pages. Write that number here:                                                             $62,710.92

Official Form 106D                          Schedule D: Creditors Who Have Claims Secured by Property                                         page 1
           Case 18-14752-JKS               Doc 13         Filed 03/28/18 Entered 03/28/18 16:20:36                         Desc Main
                                                         Document     Page 15 of 41
Debtor 1       Dorothy Futrell                                                         Case number (if known)    18-14752-JKS

 Part 2:        List Others to Be Notified for a Debt That You Already Listed
Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For
example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and
then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Part 1,
list the additional creditors here. If you do not have additional persons to be notified for any debts in Part 1, do not fill out or
submit this page.


  1
        Ditech Financial                                                       On which line in Part 1 did you enter the creditor?      2.1
        Name
        2100 E Elliot Rd, Bldg 94                                              Last 4 digits of account number
        Number       Street




        Tempe                                    AZ       85284
        City                                     State    ZIP Code




Official Form 106D                 Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                 page 2
             Case 18-14752-JKS                 Doc 13       Filed 03/28/18 Entered 03/28/18 16:20:36                                Desc Main
                                                           Document     Page 16 of 41
  Fill in this information to identify your case:
  Debtor 1             Dorothy                                      Futrell
                       First Name            Middle Name            Last Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name            Last Name


  United States Bankruptcy Court for the: DISTRICT OF NEW JERSEY

  Case number          18-14752-JKS
  (if known)                                                                                                           Check if this is an
                                                                                                                        amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                   12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
on Schedule A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G).
Do not include any creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property.
If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page
to this page. On the top of any additional pages, write your name and case number (if known).


  Part 1:        List All of Your PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims against you?

           No. Go to Part 2.
           Yes.

2.     List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each
       claim. For each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and
       show both priority and nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If
       more space is needed for priority unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular
       claim, list the other creditors in Part 3.

       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.
                                                                                                      Total claim       Priority              Nonpriority
                                                                                                                        amount                amount

     2.1


Priority Creditor's Name                                   Last 4 digits of account number
                                                           When was the debt incurred?
Number       Street
                                                           As of the date you file, the claim is: Check all that apply.
                                                            Contingent
                                                            Unliquidated
City                            State   ZIP Code            Disputed
Who incurred the debt?     Check one.                      Type of PRIORITY unsecured claim:
 Debtor 1 only                                             Domestic support obligations
 Debtor 2 only                                             Taxes and certain other debts you owe the government
 Debtor 1 and Debtor 2 only                                Claims for death or personal injury while you were
 At least one of the debtors and another                     intoxicated
 Check if this claim is for a community debt               Other. Specify
Is the claim subject to offset?
 No
 Yes




Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                 page 1
             Case 18-14752-JKS                  Doc 13       Filed 03/28/18 Entered 03/28/18 16:20:36                                  Desc Main
                                                            Document     Page 17 of 41
Debtor 1       Dorothy Futrell                                                                  Case number (if known)      18-14752-JKS

  Part 2:        List All of Your NONPRIORITY Unsecured Claims

3.     Do any creditors have nonpriority unsecured claims against you?

           No. You have nothing to report in this part. Submit this form to the court with your other schedules.
           Yes

4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim.
       If a creditor has more than one nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what
       type of claim it is. Do not list claims already included in Part 1. If more than one creditor holds a particular claim, list the other creditors in
       Part 3. If more space is needed for nonpriority unsecured claims, fill out the Continuation Page of Part 2.

                                                                                                                                              Total claim

     4.1                                                                                                                                          $2,552.07
Credit One Bank                                             Last 4 digits of account number         3     7    7    3
Nonpriority Creditor's Name
                                                            When was the debt incurred?
PO Box 98873
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
Las Vegas                       NV      89193-8873
                                                             Disputed
City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                             Student loans
  Debtor 1 only
                                                             Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                                that you did not report as priority claims
 Debtor 1 and Debtor 2 only                                 Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                    Other. Specify
      Check if this claim is for a community debt               Credit Card
Is the claim subject to offset?
 No
 Yes
     4.2                                                                                                                                          $7,903.36
Mercantile Adjustment Bureau LLC                            Last 4 digits of account number         7     4    9    4
Nonpriority Creditor's Name
                                                            When was the debt incurred?
PO Box 9055
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
Williamsville                   NY      14231-9055
                                                             Disputed
City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
  Debtor 1 only                                             Student loans
 Debtor 2 only                                              Obligations arising out of a separation agreement or divorce
                                                               that you did not report as priority claims
 Debtor 1 and Debtor 2 only                                 Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                    Other. Specify
      Check if this claim is for a community debt               Credit Card
Is the claim subject to offset?
 No
 Yes




Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 2
           Case 18-14752-JKS                  Doc 13          Filed 03/28/18 Entered 03/28/18 16:20:36                          Desc Main
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Debtor 1       Dorothy Futrell                                                          Case number (if known)        18-14752-JKS

 Part 4:        Add the Amounts for Each Type of Unsecured Claim

6.   Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only.
     28 U.S.C. § 159. Add the amounts for each type of unsecured claim.


                                                                                                                Total claim

Total claims       6a. Domestic support obligations                                                   6a.                     $0.00
from Part 1
                   6b. Taxes and certain other debts you owe the government                           6b.                     $0.00

                   6c. Claims for death or personal injury while you were intoxicated                 6c.                     $0.00

                   6d. Other. Add all other priority unsecured claims. Write that amount here.        6d.   +                 $0.00


                   6e. Total.     Add lines 6a through 6d.                                            6d.                     $0.00




                                                                                                                Total claim

Total claims       6f.   Student loans                                                                6f.                     $0.00
from Part 2
                   6g. Obligations arising out of a separation agreement or divorce                   6g.                     $0.00
                       that you did not report as priority claims

                   6h. Debts to pension or profit-sharing plans, and other similar                    6h.                     $0.00
                       debts

                   6i.   Other. Add all other nonpriority unsecured claims. Write that amount here.   6i.   +         $10,455.43


                   6j.   Total.   Add lines 6f through 6i.                                            6j.             $10,455.43




Official Form 106E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                        page 3
             Case 18-14752-JKS                 Doc 13         Filed 03/28/18 Entered 03/28/18 16:20:36                             Desc Main
                                                             Document     Page 19 of 41
 Fill in this information to identify your case:
 Debtor 1               Dorothy                                     Futrell
                        First Name           Middle Name            Last Name

 Debtor 2
 (Spouse, if filing) First Name              Middle Name            Last Name


 United States Bankruptcy Court for the: DISTRICT OF NEW JERSEY

 Case number            18-14752-JKS
 (if known)                                                                                                           Check if this is an
                                                                                                                       amended filing

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page.
On the top of any additional pages, write your name and case number (if known).


1.     Do you have any executory contracts or unexpired leases?

            No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
            Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease
       is for (for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of
       executory contracts and unexpired leases.

           Person or company with whom you have the contract or lease                   State what the contract or lease is for

 2.1       Sara Reed                                                                    Debtor is lessor of 609 Spooer Ave, Plainfield, NJ
           Name
                                                                                        07060.
           609 Spooner Ave
           Number    Street                                                             Contract to be ASSUMED


           Plainfield                                   NJ        07060
           City                                         State     ZIP Code




Official Form 106G                             Schedule G: Executory Contracts and Unexpired Leases                                                page 1
            Case 18-14752-JKS              Doc 13        Filed 03/28/18 Entered 03/28/18 16:20:36                                 Desc Main
                                                        Document     Page 20 of 41
 Fill in this information to identify your case:
 Debtor 1            Dorothy                                     Futrell
                     First Name          Middle Name             Last Name

 Debtor 2
 (Spouse, if filing) First Name          Middle Name             Last Name


 United States Bankruptcy Court for the: DISTRICT OF NEW JERSEY

 Case number         18-14752-JKS
 (if known)                                                                                                           Check if this is an
                                                                                                                       amended filing



Official Form 106H
Schedule H: Your Codebtors                                                                                                                   12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If
two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this
page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.


1.   Do you have any codebtors?       (If you are filing a joint case, do not list either spouse as a codebtor.)
      No
      Yes
2.   Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories
     include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

         No. Go to line 3.
         Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
           No
           Yes
3.   In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the
     person shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the
     creditor on Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use
     Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

         Column 1: Your codebtor                                                             Column 2: The creditor to whom you owe the debt

                                                                                             Check all schedules that apply:




Official Form 106H                                         Schedule H: Your Codebtors                                                        page 1
             Case 18-14752-JKS                 Doc 13      Filed 03/28/18 Entered 03/28/18 16:20:36                                     Desc Main
                                                          Document     Page 21 of 41
 Fill in this information to identify your case:
     Debtor 1              Dorothy                                     Futrell
                           First Name           Middle Name            Last Name                           Check if this is:
     Debtor 2
     (Spouse, if filing)   First Name           Middle Name            Last Name                               An amended filing

     United States Bankruptcy Court for the:   DISTRICT OF NEW JERSEY                                          A supplement showing postpetition
                                                                                                                chapter 13 income as of the following date:
     Case number           18-14752-JKS
     (if known)
                                                                                                                MM / DD / YYYY
Official Form 106I
Schedule I: Your Income                                                                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you,
include information about your spouse. If you are separated and your spouse is not filing with you, do not include information
about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

 Part 1:          Describe Employment
1.    Fill in your employment
      information.                                             Debtor 1                                           Debtor 2 or non-filing spouse
      If you have more than one
      job, attach a separate page       Employment status            Employed                                          Employed
      with information about                                         Not employed                                      Not employed
      additional employers.
                                        Occupation             Office Cleaning
      Include part-time, seasonal,
      or self-employed work.            Employer's name        Corey Felton

      Occupation may include            Employer's address
      student or homemaker, if it                              Number Street                                      Number Street
      applies.




                                                               City                         State   Zip Code      City                    State   Zip Code

                                        How long employed there?        3 months

 Part 2:          Give Details About Monthly Income
Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your
non-filing spouse unless you are separated.
If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If
you need more space, attach a separate sheet to this form.

                                                                                            For Debtor 1            For Debtor 2 or
                                                                                                                    non-filing spouse

2.    List monthly gross wages, salary, and commissions (before all             2.                  $280.00
      payroll deductions). If not paid monthly, calculate what the monthly wage
      would be.
3.    Estimate and list monthly overtime pay.                                      3.   +              $0.00

4.    Calculate gross income. Add line 2 + line 3.                                 4.               $280.00




Official Form 106I                                            Schedule I: Your Income                                                                 page 1
            Case 18-14752-JKS                               Doc 13           Filed 03/28/18 Entered 03/28/18 16:20:36                                       Desc Main
                                                                            Document     Page 22 of 41
Debtor 1        Dorothy Futrell                                                                                              Case number (if known)    18-14752-JKS
                                                                                                                    For Debtor 1         For Debtor 2 or
                                                                                                                                         non-filing spouse
     Copy line 4 here .................................................................................    4.            $280.00
5.   List all payroll deductions:
     5a. Tax, Medicare, and Social Security deductions                                                      5a.             $0.00
     5b. Mandatory contributions for retirement plans                                                       5b.             $0.00
     5c. Voluntary contributions for retirement plans                                                       5c.             $0.00
     5d. Required repayments of retirement fund loans                                                       5d.             $0.00
     5e. Insurance                                                                                          5e.             $0.00
     5f. Domestic support obligations                                                                       5f.             $0.00
     5g. Union dues                                                                                         5g.             $0.00
     5h. Other deductions.
          Specify:                                                                                          5h. +           $0.00
6.   Add the payroll deductions.                   Add lines 5a + 5b + 5c + 5d + 5e + 5f +                  6.              $0.00
     5g + 5h.
7.   Calculate total monthly take-home pay.                           Subtract line 6 from line 4.          7.            $280.00
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a                                               8a.           $800.00
          business, profession, or farm
            Attach a statement for each property and business showing
            gross receipts, ordinary and necessary business expenses, and
            the total monthly net income.
     8b. Interest and dividends                                                                             8b.             $0.00
     8c. Family support payments that you, a non-filing spouse, or a                                        8c.             $0.00
         dependent regularly receive
            Include alimony, spousal support, child support, maintenance,
            divorce settlement, and property settlement.
     8d. Unemployment compensation                                                                          8d.             $0.00
     8e. Social Security                                                                                    8e.         $1,062.00
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) or any non-
         cash assistance that you receive, such as food stamps
         (benefits under the Supplemental Nutrition Assistance Program)
         or housing subsidies.
         Specify: Food stamps                                                                               8f.            $16.00
     8g. Pension or retirement income                                                                       8g.             $0.00
     8h. Other monthly income.
         Specify:                                                                                           8h. +           $0.00

9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f + 8g + 8h.                                 9.          $1,878.00

10. Calculate monthly income. Add line 7 + line 9.                                                          10.         $2,158.00    +                       =       $2,158.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.

     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

     Specify:                                                                                                                                         11.    +           $0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly                                         12.            $2,158.00
    income. Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information,
    if it applies.                                                                                                                                               Combined
                                                                                                                                                                 monthly income
13. Do you expect an increase or decrease within the year after you file this form?
     No.             None.
           Yes. Explain:




Official Form 106I                                                                  Schedule I: Your Income                                                               page 2
           Case 18-14752-JKS           Doc 13     Filed 03/28/18 Entered 03/28/18 16:20:36                       Desc Main
                                                 Document     Page 23 of 41
Debtor 1     Dorothy Futrell                                                         Case number (if known)   18-14752-JKS


1.   Additional Employers Debtor 1                                            Debtor 2 or non-filing spouse

     Occupation           House cleaning
     Employer's name      Lasslzo Vago
     Employer's address   3 Horizon Dr
                          Edison, NJ


                          City                        State   Zip Code        City                            State   Zip Code

     How long employed there?        10 months




Official Form 106I                                  Schedule I: Your Income                                                  page 3
             Case 18-14752-JKS                 Doc 13        Filed 03/28/18 Entered 03/28/18 16:20:36                              Desc Main
                                                            Document     Page 24 of 41
 Fill in this information to identify your case:
                                                                                                        Check if this is:
     Debtor 1              Dorothy
                           First Name             Middle Name
                                                                         Futrell
                                                                         Last Name
                                                                                                         An amended filing
                                                                                                         A supplement showing postpetition
                                                                                                            chapter 13 expenses as of the
     Debtor 2
     (Spouse, if filing)   First Name             Middle Name            Last Name                          following date:

     United States Bankruptcy Court for the:    DISTRICT OF NEW JERSEY                                        MM / DD / YYYY
     Case number           18-14752-JKS
     (if known)

Official Form 106J
Schedule J: Your Expenses                                                                                                                       12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your
name and case number (if known). Answer every question.


 Part 1:          Describe Your Household
1.    Is this a joint case?

           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                 No
                 Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?                 No
                                                                                      Dependent's relationship to    Dependent's      Does dependent
      Do not list Debtor 1 and                Yes. Fill out this information
                                               for each dependent.................... Debtor 1 or Debtor 2           age              live with you?
      Debtor 2.
                                                                                                                                         No

      Do not state the dependents'
                                                                                                                                         Yes

      names.                                                                                                                             No
                                                                                                                                         Yes

                                                                                                                                         No
                                                                                                                                         Yes

                                                                                                                                         No
                                                                                                                                         Yes

                                                                                                                                         No
                                                                                                                                         Yes
3.    Do your expenses include                       No
      expenses of people other than
      yourself and your dependents?
                                                     Yes



 Part 2:          Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case
to report expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of
the form and fill in the applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                     Your expenses

4.    The rental or home ownership expenses for your residence.                                                     4.                     $825.37
      Include first mortgage payments and any rent for the ground or lot.
      If not included in line 4:

      4a. Real estate taxes                                                                                         4a.

      4b. Property, homeowner's, or renter's insurance                                                              4b.

      4c. Home maintenance, repair, and upkeep expenses                                                             4c.                     $50.00
      4d. Homeowner's association or condominium dues                                                               4d.




 Official Form 106J                                             Schedule J: Your Expenses                                                       page 1
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Debtor 1      Dorothy Futrell                                                            Case number (if known)   18-14752-JKS
                                                                                                            Your expenses

5.   Additional mortgage payments for your residence, such as home equity loans                       5.

6.   Utilities:

     6a. Electricity, heat, natural gas                                                               6a.                   $300.00
     6b. Water, sewer, garbage collection                                                             6b.                   $235.00
     6c. Telephone, cell phone, Internet, satellite, and                                              6c.                    $50.00
         cable services
     6d. Other. Specify:                                                                              6d.

7.   Food and housekeeping supplies                                                                   7.                     $50.00
8.   Childcare and children's education costs                                                         8.

9.   Clothing, laundry, and dry cleaning                                                              9.                     $15.00
10. Personal care products and services                                                               10.                    $20.00
11. Medical and dental expenses                                                                       11.                    $40.00
12. Transportation. Include gas, maintenance, bus or train                                            12.                    $25.00
    fare. Do not include car payments.
13. Entertainment, clubs, recreation, newspapers,                                                     13.
    magazines, and books
14. Charitable contributions and religious donations                                                  14.                    $50.00
15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

     15a.   Life insurance                                                                            15a.                   $17.00
     15b.   Health insurance                                                                          15b.

     15c.   Vehicle insurance                                                                         15c.

     15d.   Other insurance. Specify:                                                                 15d.
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
    Specify:                                                                                          16.

17. Installment or lease payments:

     17a.   Car payments for Vehicle 1                                                                17a.

     17b.   Car payments for Vehicle 2                                                                17b.

     17c.   Other. Specify:                                                                           17c.

     17d.   Other. Specify:                                                                           17d.

18. Your payments of alimony, maintenance, and support that you did not report as                     18.
    deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).


19. Other payments you make to support others who do not live with you.
    Specify:                                                                                          19.




 Official Form 106J                                          Schedule J: Your Expenses                                           page 2
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Debtor 1      Dorothy Futrell                                                                  Case number (if known)   18-14752-JKS
20. Other real property expenses not included in lines 4 or 5 of this form or on
    Schedule I: Your Income.
    20a.    Mortgages on other property                                                                      20a.

    20b.    Real estate taxes                                                                                20b.

    20c.    Property, homeowner's, or renter's insurance                                                     20c.

    20d.    Maintenance, repair, and upkeep expenses                                                         20d.

    20e.    Homeowner's association or condominium dues                                                      20e.

21. Other. Specify:                                                                                          21.    +
22. Calculate your monthly expenses.

    22a.    Add lines 4 through 21.                                                                          22a.               $1,677.37
    22b.    Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2.                 22b.

    22c.    Add line 22a and 22b. The result is your monthly expenses.                                       22c.               $1,677.37

23. Calculate your monthly net income.

    23a.    Copy line 12 (your combined monthly income) from Schedule I.                                     23a.               $2,158.00
    23b.    Copy your monthly expenses from line 22c above.                                                  23b.   –           $1,677.37
    23c.    Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                           23c.                 $480.63

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage
    payment to increase or decrease because of a modification to the terms of your mortgage?

          No.
          Yes. Explain here:
                None.




 Official Form 106J                                         Schedule J: Your Expenses                                                  page 3
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 Fill in this information to identify your case:
 Debtor 1           Dorothy                                 Futrell
                    First Name          Middle Name         Last Name

 Debtor 2
 (Spouse, if filing) First Name         Middle Name         Last Name


 United States Bankruptcy Court for the: DISTRICT OF NEW JERSEY

 Case number        18-14752-JKS
 (if known)                                                                                                 Check if this is an
                                                                                                             amended filing

Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                     12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement,
concealing property, or obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to
$250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below

    Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

         No

         Yes. Name of person                                                                Attach Bankruptcy Petition Preparer's Notice,
                                                                                             Declaration, and Signature (Official Form 119).




    Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are
    true and correct.



    X /s/ Dorothy Futrell                                  X
        Dorothy Futrell, Debtor 1                              Signature of Debtor 2

        Date 03/28/2018                                        Date
             MM / DD / YYYY                                           MM / DD / YYYY




Official Form 106Dec                        Declaration About an Individual Debtor's Schedules                                         page 1
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 Fill in this information to identify your case:
 Debtor 1           Dorothy                                      Futrell
                    First Name              Middle Name          Last Name

 Debtor 2
 (Spouse, if filing) First Name             Middle Name          Last Name


 United States Bankruptcy Court for the: DISTRICT OF NEW JERSEY

 Case number        18-14752-JKS
 (if known)                                                                                                        Check if this is an
                                                                                                                    amended filing

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                         04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.


 Part 1:       Give Details About Your Marital Status and Where You Lived Before

1.   What is your current marital status?
      Married
      Not married
2.   During the last 3 years, have you lived anywhere other than where you live now?
      No
      Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
3.   Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?
     (Community property states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas,
     Washington, and Wisconsin.)

        No
        Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2:       Explain the Sources of Your Income
4.   Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.


        No
        Yes. Fill in the details.

                                                    Debtor 1                                           Debtor 2

                                                  Sources of income          Gross income          Sources of income            Gross income
                                                  Check all that apply.      (before deductions    Check all that apply.        (before deductions
                                                                             and exclusions                                     and exclusions

From January 1 of the current year until           Wages, commissions,                 $840.00     Wages, commissions,
the date you filed for bankruptcy:                    bonuses, tips                                     bonuses, tips

                                                   Operating a business                            Operating a business

For the last calendar year:                        Wages, commissions,               $3,360.00     Wages, commissions,
                                                      bonuses, tips                                     bonuses, tips
(January 1 to December 31, 2017 )
                                  YYYY             Operating a business                            Operating a business

For the calendar year before that:                 Wages, commissions,               $3,360.00     Wages, commissions,
                                                      bonuses, tips                                     bonuses, tips
(January 1 to December 31, 2016 )
                                  YYYY             Operating a business                            Operating a business
Official Form 107                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                                page 1
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Debtor 1       Dorothy Futrell                                                          Case number (if known)    18-14752-JKS
5.   Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security;
     unemployment; and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties;
     and gambling and lottery winnings. If you are in a joint case and you have income that you received together, list it only once under
     Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.


          No
          Yes. Fill in the details.


                                                  Debtor 1                                         Debtor 2

                                                Sources of income           Gross income          Sources of income           Gross income
                                                Describe below.             from each source      Describe below.             from each source
                                                                            (before deductions                                (before deductions
                                                                            and exclusions                                    and exclusions

From January 1 of the current year until        Social Security                     $3,186.00
the date you filed for bankruptcy:              Rent                                $2,400.00



For the last calendar year:                     Social Security                    $12,504.00
(January 1 to December 31, 2017 )               Rent                               $11,760.00
                                YYYY



For the calendar year before that:              Social Security                    $12,504.00
(January 1 to December 31, 2016 )               Rent                               $11,760.00
                                YYYY




Official Form 107                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                page 2
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Debtor 1         Dorothy Futrell                                                               Case number (if known)     18-14752-JKS


 Part 3:          List Certain Payments You Made Before You Filed for Bankruptcy
6.   Are either Debtor 1's or Debtor 2's debts primarily consumer debts?

          No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
                   "incurred by an individual primarily for a personal, family, or household purpose."

                   During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

                     No. Go to line 7.

                     Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the
                           total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                           child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

                   * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

          Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.

                   During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                     No. Go to line 7.

                     Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                           creditor. Do not include payments for domestic support obligations, such as child support and alimony.
                           Also, do not include payments to an attorney for this bankruptcy case.

7.   Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
     corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
     agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations
     such as child support and alimony.


          No
          Yes. List all payments to an insider.

8.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that
     benefited an insider?
     Include payments on debts guaranteed or cosigned by an insider.

          No
          Yes. List all payments that benefited an insider.




 Part 4:          Identify Legal Actions, Repossessions, and Foreclosures
9.   Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
     modifications, and contract disputes.


          No
          Yes. Fill in the details.

Case title                                 Nature of the case                           Court or agency                               Status of the case
Bank of America v. Futrell                 Foreclosure                                  Superior Court of New Jersey
                                                                                        Court Name                                             Pending
                                                                                        Union County
                                                                                        Number     Street
                                                                                                                                               On appeal

Case number F 03240016                                                                                                                         Concluded


                                                                                        City                      State    ZIP Code



Official Form 107                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 3
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Debtor 1         Dorothy Futrell                                                           Case number (if known)     18-14752-JKS
10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached,
    seized, or levied?
    Check all that apply and fill in the details below.


          No. Go to line 11.
          Yes. Fill in the information below.

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any
    amounts from your accounts or refuse to make a payment because you owed a debt?

          No
          Yes. Fill in the details.

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
    creditors, a court-appointed receiver, a custodian, or another official?

          No
          Yes

  Part 5:         List Certain Gifts and Contributions
13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

          No
          Yes. Fill in the details for each gift.

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600
    to any charity?


          No
          Yes. Fill in the details for each gift or contribution.

  Part 6:         List Certain Losses
15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire,
    other disaster, or gambling?

          No
          Yes. Fill in the details.

  Part 7:         List Certain Payments or Transfers
16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone you consulted about seeking bankruptcy or preparing a bankruptcy petition?
       Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required for your bankruptcy.

          No
          Yes. Fill in the details.

                                                       Description and value of any property transferred        Date payment        Amount of
Kasuri Byck LLC                                                                                                 or transfer was     payment
Person Who Was Paid                                                                                             made

340 U.S. Highway 1 North                                                                                                                $1,850.00
Number      Street




Edison                        NJ       08817
City                          State    ZIP Code


Email or website address


Person Who Made the Payment, if Not You



Official Form 107                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                               page 4
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Debtor 1       Dorothy Futrell                                                           Case number (if known)     18-14752-JKS
17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone who promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

          No
          Yes. Fill in the details.

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than
    property transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as granting of a security interest or mortgage on your property).
    Do not include gifts and transfers that you have already listed on this statement.


          No
          Yes. Fill in the details.

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which
    you are a beneficiary? (These are often called asset-protection devices.)

          No
          Yes. Fill in the details.

 Part 8:         List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units
20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your
    benefit, closed, sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.

          No
          Yes. Fill in the details.

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository
    for securities, cash, or other valuables?

          No
          Yes. Fill in the details.

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
     No
     Yes. Fill in the details.
 Part 9:         Identify Property You Hold or Control for Someone Else
23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
    or hold in trust for someone.

          No
          Yes. Fill in the details.




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Debtor 1       Dorothy Futrell                                                                 Case number (if known)         18-14752-JKS

 Part 10:        Give Details About Environmental Information
For the purpose of Part 10, the following definitions apply:

 Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
  hazardous or toxic substance, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
  including statutes or regulations controlling the cleanup of these substances, wastes, or material.
 Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
  utilize it or used to own, operate, or utilize it, including disposal sites.

 Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
  substance, hazardous material, pollutant, contaminant, or similar item.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental
    law?


          No
          Yes. Fill in the details.

25. Have you notified any governmental unit of any release of hazardous material?
     No
     Yes. Fill in the details.
26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and
    orders.

          No
          Yes. Fill in the details.

 Part 11:        Give Details About Your Business or Connections to Any Business
27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any
    business?

               A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
               A member of a limited liability company (LLC) or limited liability partnership (LLP)
               A partner in a partnership
               An officer, director, or managing executive of a corporation
               An owner of at least 5% of the voting or equity securities of a corporation

          No. None of the above applies. Go to Part 12.
          Yes. Check all that apply above and fill in the details below for each business.

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include
    all financial institutions, creditors, or other parties.

          No
          Yes. Fill in the details below.




Official Form 107                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                                page 6
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Debtor 1      Dorothy Futrell                                                       Case number (if known)    18-14752-JKS

 Part 12:      Sign Below
I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury
that answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



X /s/ Dorothy Futrell                                 X
    Dorothy Futrell, Debtor 1                             Signature of Debtor 2

    Date     03/28/2018                                   Date


Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

   No
   Yes


Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

   No
   Yes. Name of person                                                                   Attach the Bankruptcy Petition Preparer's Notice,
                                                                                          Declaration, and Signature (Official Form 119).




Official Form 107                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 7
            Case 18-14752-JKS              Doc 13        Filed 03/28/18 Entered 03/28/18 16:20:36                             Desc Main
                                                        Document     Page 35 of 41
 Fill in this information to identify your case:                                             Check one box only as directed in this
                                                                                             form and in Form 122A-1Supp:
 Debtor 1           Dorothy                                    Futrell
                    First Name           Middle Name           Last Name
                                                                                             1. There is no presumption of abuse.
 Debtor 2
 (Spouse, if filing) First Name          Middle Name           Last Name
                                                                                             2. The calculation to determine if a presumption
                                                                                                 of abuse applies will be made under Chapter 7
                                                                                                 Means Test Calculation (Official Form 122A-2).
 United States Bankruptcy Court for the: DISTRICT OF NEW JERSEY
                                                                                             3. The Means Test does not apply now because
 Case number        18-14752-JKS                                                                 of qualified military service but it could apply
 (if known)                                                                                      later.

                                                                                                Check if this is an amended filing

Official Form 122A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                            12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being
accurate. If more space is needed, attach a separate sheet to this form. Include the line number to which the additional
information applies. On the top of any additional pages, write your name and case number (if known). If you believe that you
are exempted from a presumption of abuse because you do not have primarily consumer debts or because of qualifying
military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form
122A-1Supp) with this form.


 Part 1:       Calculate Your Current Monthly Income

1.   What is your marital and filing status? Check one only.

         Not married. Fill out Column A, lines 2-11.

         Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

         Married and your spouse is NOT filing with you. You and your spouse are:

              Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.

              Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you
               declare under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you
               and your spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).


     Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
     bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
     August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill
     in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
     income from that property in one column only. If you have nothing to report for any line, write $0 in the space.


                                                                                            Column A        Column B
                                                                                            Debtor 1        Debtor 2 or
                                                                                                            non-filing spouse

2.   Your gross wages, salary, tips, bonuses, overtime, and commissions                         $280.00
     (before all payroll deductions).

3.   Alimony and maintenance payments. Do not include payments from a spouse                       $0.00
     if Column B is filled in.

4.   All amounts from any source which are regularly paid for household                            $0.00
     expenses of you or your dependents, including child support. Include
     regular contributions from an unmarried partner, members of your household,
     your dependents, parents, and roommates. Include regular contributions from
     a spouse only if Column B is not filled in. Do not include payments you listed
     on line 3.




Official Form 122A-1                         Chapter 7 Statement of Your Current Monthly Income                                               page 1
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Debtor 1       Dorothy Futrell                                                                                 Case number (if known) 18-14752-JKS

                                                                                                                   Column A     Column B
                                                                                                                   Debtor 1     Debtor 2 or
                                                                                                                                non-filing spouse

5.   Net income from operating a business, profession, or farm

                                                            Debtor 1                       Debtor 2

     Gross receipts (before all                                          $0.00
     deductions)

     Ordinary and necessary operating                   –                $0.00         –
     expenses
                                                                                                          Copy
     Net monthly income from a business,                                 $0.00                            here         $0.00
     profession, or farm

6.   Net income from rental and other real property

                                                            Debtor 1                       Debtor 2

     Gross receipts (before all                                      $800.00
     deductions)

     Ordinary and necessary operating                   –                $0.00         –
     expenses
                                                                                                          Copy
     Net monthly income from rental or                               $800.00                              here       $800.00
     other real property

7.   Interest, dividends, and royalties                                                                                 $0.00
8.   Unemployment compensation                                                                                          $0.00
     Do not enter the amount if you contend that the amount received was a
     benefit under the Social Security Act. Instead, list it here: .................


        For you...............................................................................        $0.00

        For your spouse.................................................................

9.   Pension or retirement income. Do not include any amount received that                                              $0.00
     was a benefit under the Social Security Act.

10. Income from all other sources not listed above. Specify the source and
    amount. Do not include any benefits received under the Social Security Act
    or payments received as a victim of a war crime, a crime against humanity,
    or international or domestic terrorism. If necessary, list other sources on a
    separate page and put the total below.




     Total amounts from separate pages, if any.                                                                +                +
11. Calculate your total current monthly income.
    Add lines 2 through 10 for each column.                                                                         $1,080.00   +               =       $1,080.00
    Then add the total for Column A to the total for Column B.
                                                                                                                                                    Total current
                                                                                                                                                    monthly income




Official Form 122A-1                                           Chapter 7 Statement of Your Current Monthly Income                                            page 2
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 Part 2:        Determine Whether the Means Test Applies to You

12. Calculate your current monthly income for the year. Follow these steps:

    12a.    Copy your total current monthly income from line 11.........................................................Copy line 11 here          12a.            $1,080.00

            Multiply by 12 (the number of months in a year).                                                                                                   X      12

    12b.    The result is your annual income for this part of the form.                                                                                 12b.       $12,960.00

13. Calculate the median family income that applies to you. Follow these steps:

    Fill in the state in which you live.                                      New Jersey

    Fill in the number of people in your household.                                   1

    Fill in the median family income for your state and size of household............................................................................... 13.       $64,901.00
    To find a list of applicable median income amounts, go online using the link specified in the separate
    instructions for this form. This list may also be available at the bankruptcy clerk's office.


14. How do the lines compare?

    14a.         Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                  Go to Part 3.
    14b.         Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                  Go to Part 3 and fill out Form 122A-2.


 Part 3:        Sign Below

      By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.


      X    /s/ Dorothy Futrell                                                                 X
           Dorothy Futrell, Debtor 1                                                               Signature of Debtor 2

           Date 3/28/2018                                                                          Date
                MM / DD / YYYY                                                                              MM / DD / YYYY

      If you checked line 14a, do NOT fill out or file Form 122A-2.

      If you checked line 14b, fill out Form 122A-2 and file it with this form.




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                                      UNITED STATES BANKRUPTCY COURT
                                           DISTRICT OF NEW JERSEY
                                              NEWARK DIVISION
  IN RE:   Dorothy Futrell                                                           CASE NO   18-14752-JKS

                                                                                    CHAPTER    7

                                     VERIFICATION OF CREDITOR MATRIX

      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 3/28/2018                                           Signature    /s/ Dorothy Futrell
                                                                     Dorothy Futrell



Date                                                     Signature
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                       Bank of America
                       c/o Frankel Lambert Weiss, etal
                       80 Main Street Suite 460
                       West Orange, NJ 07052


                       Credit One Bank
                       PO Box 98873
                       Las Vegas, NV 89193-8873



                       Ditech Financial
                       2100 E Elliot Rd, Bldg 94
                       Tempe, AZ 85284



                       Mercantile Adjustment Bureau LLC
                       PO Box 9055
                       Williamsville, NY 14231-9055



                       Sara Reed
                       609 Spooner Ave
                       Plainfield, NJ 07060
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 Fill in this information to identify your case:
 Debtor 1             Dorothy                                    Futrell
                      First Name          Middle Name            Last Name

 Debtor 2
 (Spouse, if filing) First Name           Middle Name            Last Name


 United States Bankruptcy Court for the: DISTRICT OF NEW JERSEY

 Case number          18-14752-JKS
 (if known)                                                                                                                     Check if this is an
                                                                                                                                 amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                 12/15

If you are an individual filing under chapter 7, you must fill out this form if:

 creditors have claims secured by your property, or

 you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting
of creditors, whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors
and lessors you list on the form.

If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
Both debtors must sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known).


 Part 1:          List Your Creditors Who Hold Secured Claims

1.   For any creditors that you listed in Part 1 of Schedule D: Creditors Who Hold Claims Secured by Property (Official Form 106D),
     fill in the information below.

     Identify the creditor and the property that is collateral         What do you intend to do with the             Did you claim the property
                                                                       property that secures a debt?                 as exempt on Schedule C?

     Creditor's        Bank of America                                      Surrender the property.                     No
     name:
                                                                            Retain the property and redeem it.          Yes
     Description of    607-609 Spooner Ave, Plainfield,                     Retain the property and enter into a
     property                                                                Reaffirmation Agreement.
                       NJ07060
     securing debt:                                                         Retain the property and [explain]:
                                                                             Debtor will continue making payments to creditor without
                                                                             reaffirming.


 Part 2:          List Your Unexpired Personal Property Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not
yet ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

     Describe your unexpired personal property leases                                                               Will this lease be assumed?

     Lessor's name:        Sara Reed                                                                                    No
     Description of leased Debtor is lessor of 609 Spooer Ave, Plainfield, NJ 07060.                                    Yes
     property:




Official Form 108                        Statement of Intention for Individuals Filing Under Chapter 7                                        page 1
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Debtor 1     Dorothy Futrell                                                        Case number (if known)   18-14752-JKS

 Part 3:      Sign Below

   Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and
   personal property that is subject to an unexpired lease.

X /s/ Dorothy Futrell                                X
   Dorothy Futrell, Debtor 1                             Signature of Debtor 2

   Date 03/28/2018                                       Date
        MM / DD / YYYY                                          MM / DD / YYYY




Official Form 108                      Statement of Intention for Individuals Filing Under Chapter 7                                page 2
